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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        PANAMA CITY DIVISION

ISAIAH JAMES WOODEN,

      Plaintiff,

v.                                                 Case No. 5:21-cv-46-TKW-MJF

DOLGENCORP, LLC,

      Defendant.
                                          /

                                    ORDER

      This case is before the Court based on the magistrate judge’s Report and

Recommendation (Doc. 26) and Plaintiff’s objection (Doc. 27). The Court reviewed

the issues raised in the objection de novo as required by 28 U.S.C. §636(b)(1) and

Fed. R. Civ. P. 72(b)(3).

      Based on that review, the Court agrees with the magistrate judge’s

determination that Defendant’s motion to dismiss (Doc. 23) should be granted

because Plaintiff’s third amended complaint fails to state a claim upon which relief

can be granted. The Court also agrees that the dismissal should be “with prejudice”

because Plaintiff has already been given multiple opportunities to file a legally

sufficient complaint and further amendment would be futile.

      Accordingly, it is ORDERED that:
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      1.     The magistrate judge’s Report and Recommendation is adopted and

incorporated by reference in this order.

      2.     Defendant’s motion to dismiss (Doc. 23) is GRANTED, and this case

is DISMISSED with prejudice.

      3.     The Clerk shall close the case file.

      DONE and ORDERED this 31st day of May, 2022.

                                           T. Kent Wetherell, II
                                       T. KENT WETHERELL, II
                                       UNITED STATES DISTRICT JUDGE
